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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

 JENNIFER COUSINS, et al.,
                                                 Challenge to
              Plaintiffs                         Constitutionality of Fla. Stat.
                                                 Ann. § 1001.42(8)(c) (2022)
 v.

 THOMAS R. GRADY, et al.,                        Preliminary Injunctive Relief
                                                 Requested
              Defendants,

 and                                             Case No.: 6:22-cv-01312-
                                                 WWB-LHP
 ASHLEY MOODY, Attorney General,

              Defendant-Intervenor.


                 PLAINTIFFS’ RESPONSE IN OPPOSITION TO
       DEFENDANTS’ OBJECTION TO ORDER DENYING STAY OF DISCOVERY

        Pursuant to M.D. Fla. Admin. Order No. 8:20-mc-100-T-23, Plaintiffs submit this

 Response in Opposition to Defendants’ Objection to Order Denying Stay of Discovery

 (ECF 134).

        The Magistrate Judge considered Defendants’ Motion to Stay Discovery

 (ECF 126) and denied it (ECF 133). Defendants filed an objection to the Magistrate

 Judge’s Order (ECF 134). The standard for setting aside orders from a Magistrate

 Judge in non-dispositive matters is that district judges “must consider timely objections

 and modify or set aside any part of the order that is clearly erroneous or is contrary to

 law.” Fed. R. Civ. P. 72(a). For the reasons set forth below, Defendants have not shown

 that any part of the Order is clearly erroneous or contrary to law. Therefore, no stay is

 warranted.



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       Defendants argue that the Magistrate Judge misread the Eleventh Circuit case of

 Chudasama v. Mazda Motor Corp., 123 F.3d 1353 (11th Cir. 1997) (ECF 134, at 1-3).

 The Magistrate Judge cites a more recent Federal Circuit case that interprets

 Chudasama and observes that “nothing in Chudasama states that discovery must be

 stayed pending a decision on a motion to dismiss” (ECF 133, at 6, quoting Taser Int’l

 Inc. v. Phazzer Elecs., Inc., 754 F. App’x 955, 960 (Fed Cir. 2018)). Defendants take

 issue with the Magistrate Judge’s characterization of Taser Int’l Inc., but Defendants are

 simply wrong. Taser Int’l Inc. is a Middle District case that was appealed to the Federal

 Circuit. 745 F. App’x 955 (Fed. Cir. 2018). The Federal Circuit then interpreted Middle

 District procedure and rendered its decision. Id. In any case, the Federal Circuit is a

 persuasive authority, and citing its observations about Chudasama is not “clearly

 erroneous.” See Brandywine Communs. Techs., LLC v. Cellco P’ship, No. 6:12-cv-275-

 Orl-36DAB, 2012 U.S. Dist. LEXIS 158406, at *14 (M.D. Fla. Nov. 5, 2012); Brandywine

 Communs. Techs., LLC v. Casio Computer Co., Ltd., 912 F. Supp. 2d 1338, n.4 (M.D.

 Fla. 2012).

       Defendants argue that Chudasama stands for the proposition that district courts

 should resolve facial challenges to the legal sufficiency of a claim before discovery

 begins (ECF 134, at 2). Defendants’ cited cases, however, acknowledge that a stay is a

 matter of judicial discretion, and no case requires a stay. Therefore, the Magistrate

 Judge’s reading of the law is not legally incorrect. “Importantly, the question for the

 district judge is not whether the magistrate judge’s decision is ‘the best or only

 conclusion that can be drawn from the evidence, or whether it is the one which the

 [district judge] would draw,’ but rather whether the magistrate judge's decision is



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 reasonable and supported by the record.” Fla. Action Comm., Inc. v. Seminole Cnty.,

 No. 6:15-cv-1525-Orl-40GJK, 2016 U.S. Dist. LEXIS 143735, at *3-4 (M.D. Fla. Oct. 18,

 2016).

          Defendants’ argument that this Court should ignore the Middle District Discovery

 Handbook (ECF 134, at n.3) also does not demonstrate legal error. First, a stay of

 discovery is discretionary, so no legal error can result. Second, while the Middle District

 Discovery Handbook is “neither substantive law nor [an] inflexible rule; it is an

 expression of generally acceptable discovery practice in the Middle District.” Cake v.

 Casual Concepts, Inc., No. 3:16-CV-102-J-32PDB, 2017 U.S. Dist. LEXIS 145000, at

 *23 (M.D. Fla. Aug. 16, 2017). Indeed, it is “highly persuasive” in addressing discovery

 issues. Crossman v. Carrington Mortg. Servs., LLC, No. 3:19-CV-1081-J-39PBD, 2020

 U.S. Dist. LEXIS 77940, at *4 (M.D. Fla. May 4, 2020). The Magistrate Judge was

 correctly guided by the Handbook in reiterating this District’s preference of disfavoring a

 stay unless good cause is shown (ECF 133, at 5).

          Defendants also argue that their pending motions to dismiss are likely to be

 dispositive (ECF 134, at 3). In so doing, Defendants merely cite to the recent dismissal

 of a separate case in another district (ECF 134, at 3, citing M.A. v. DeSantis, No. 4:22-

 cv-134 (N.D. Fla)). Although some of the issues in that case may overlap with the

 issues here, it involves different plaintiffs, different injuries, different defendants, and

 different claims and defenses. Therefore, the result in that case is not persuasive, much

 less dispositive of the outcome here. In any event, likelihood of success on the merits is

 but one factor that Defendants must prove and that the Magistrate Judge considered

 when refusing to issue a stay. Defendants do not specify any particular finding of the



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 Magistrate Judge in this case that is clearly erroneous. The Magistrate Judge did not

 express an opinion as to the final resolution of the motions to dismiss, but did conclude

 that they are not “clearly case dispositive” and that the allegations in the Second

 Amended Complaint are not “especially dubious” (ECF 133, at 6-7). Defendants have

 not argued that these findings are erroneous in any way, so no stay is warranted.

        Finally, Defendants offer the conclusory assertion that the Magistrate Judge

 overlooked that a short stay poses no risk of prejudice (ECF 134, at 4). Defendants,

 however, ignore that the Magistrate Judge specifically found that “the harm produced by

 delay in staying discovery outweighs the possibility that the need for discovery will be

 entirely eliminated” (ECF 133, at 8-9). Defendants do not argue and do not provide any

 support for an argument that this is a clearly erroneous finding.



    Respectfully submitted this 24th day of February, 2023.


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                    On behalf of Plaintiffs and all Counsel for Plaintiffs




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